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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 FREDIE LAUREANO,                                  )
                                                   )
                        PLAINTIFF,                 )
           v.                                      )
                                                   )      Case No.
 RADIUS GLOBAL SOLUTIONS, LLC                      )
                                                   )
                                                   )
                                                   )
                        DEFENDANT.                 )      JURY TRIAL DEMANDED

                                           COMPLAINT

        Plaintiff, Fredie Laureano, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), for a finding that Defendant’s debt collection actions

violated the FDCPA, and to recover damages for Defendant’s violations of the FDCPA, and

alleges:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28 U.S.C. §

1331.

        2.      Venue is proper in this District because the acts and transactions occurred here,

and Defendant transacts substantial business here.

                                            STANDING

        3.      Plaintiff has suffered an injury in fact that is traceable to Defendant’s conduct and

is likely to be redressed by a favorable decision in this matter.

        4.      Specifically, Plaintiff suffered a personalized and concrete injury in the form of,

among other things, emotional distress caused by Defendant contacting him in attempting to

collect an alleged debt, even though his attorneys notified Defendant to stop communications.

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         5.     Plaintiff has thus suffered an injury because of Defendant’s conduct, giving rise to

standing before this Court. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1544 (2016), quoting Lujan

v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define injuries

and articulate chains of causation that will give rise to a case or controversy where none existed

before.); Bellwood v. Dwivedi, 895 F. 2d 1521, 1526-27 (7th Cir. 1990) (“Congress can create

new substantive rights, such as a right to be free from misrepresentations, and if that right is

invaded the holder of the right can sue without running afoul of Article III, even if he incurs no

other injury[.]”).

                                               PARTIES

         6.     Plaintiff, Fredie Laureano (“Plaintiff” or “Mr. Laureano”), is a resident of the

State of Illinois, from whom Defendant attempted to collect an alleged delinquent consumer,

used for personal, family or household purposes. Plaintiff is thus a consumer as that term is

defined in 15 U.S.C. § 1692a(3) of the FDCPA.

         7.     Defendant, Radius Global Solutions, LLC (“Radius”) is a Minnesota based

limited liability company that operates a nationwide delinquent debt collection business and

attempts to collect debts from consumers in virtually every state, including consumers in the

State of Illinois, and is licensed to operate in the state of Illinois.

         8.     Defendant Radius acts as a debt collector as defined by § 1692a(6) of the FDCPA

because it uses the instrumentalities of interstate commerce including the telephone and/or the

mails in its business, the principal purpose of which is the collection of defaulted consumer

debts.

         9.     Radius is licensed as a collection agency in the State of Illinois.




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                                      FACTUAL ALLEGATIONS

       10.     Defendant has alleged that Plaintiff incurred a debt for a consumer credit account

to US Bank, N.A. (“alleged debt”). The alleged debt is thus a “debt” as that term is defined at

§ 1692a(5) of the FDCPA.

       11.     Defendant has alleged that Plaintiff failed to pay the alleged debt, and that his

account subsequently entered default.

       12.     Defendant Radius began attempting to attempt to collect the debt from Plaintiff on

behalf of US Bank, N.A.

       13.     Unsure of what to do, and disputing the validity of the alleged debt, Plaintiff

obtained counsel to represent his interests and to contact Defendant.

       14.     Plaintiff’s counsel then notified Defendant that Plaintiff was represented by

counsel and disputed the alleged debt.

       15.     On July 8, 2019, Plaintiff’s counsel sent a letter to Defendant stating that Plaintiff

was represented by counsel in regard to the debt and that the amount that Defendant was

reporting was inaccurate. (Exhibit A, Letter).

       16.     Defendant received the letter shortly thereafter.

       17.     On July 8, 2019, Defendant knew that Plaintiff was represented by counsel

because it had received notification of his representation in regard to the alleged debt.

       18.     Despite the fact that Defendant knew or should have known that Plaintiff was

represented by counsel, it contacted Plaintiff directly in an attempt to collect the alleged debt.

       19.     Specifically, Defendant mailed Plaintiff a collection letter on July 30, 2019,

seeking to collect the alleged debt. (Exhibit B, July 30, 2019 Collection Letter).




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       20.     Defendant also sent Plaintiff another collection letter to Plaintiff on September 4,

2019 seeking to collect the alleged debt. (Exhibit C, September 4, 2019 Collection Letter).

       21.     The letters were mailed directly to Plaintiff and contained an alleged balance, the

name of the alleged creditor, and a request to pay the debt.

       22.     The letters were communications as that term is defined at § 1692a(2) of the

FDCPA, since they related to Defendant’s attempted collection of the alleged debt.

       23.     15 U.S.C. § 1692c(a)(2) of the FDCPA provides in relevant part follows:

               Communication in connection with debt collection

               Without the prior consent of the consumer given directly to the debt collector
               or the express permission of a court of competent jurisdiction, a debt
               collector may not communicate with a consumer in connection with the
               collection of any debt—
               *******
               (2) If the debt collector knows the consumer is represented by an attorney
               with respect to such debt and has knowledge of, or can readily ascertain,
               such attorney’s name and address, unless the attorney fails to respond within
               a reasonable period of time to a communication from the debt collector or
               unless the attorney consents to direct communication with the consumer…

       24.     Radius violated 15 U.S.C. § 1692c(a)(2) of the FDCPA when it contacted

Plaintiff directly via mail, instead of contacting his attorney, since his attorney had notified

Radius that Plaintiff was represented by counsel in regard to the debt.

       25.     Defendant knew that Plaintiff was represented by counsel—whose name, address,

and telephone number they were also aware of—because Plaintiff’s counsel provided that

information to Defendant on July 8, 2019.

       26.     Section 1692f of the FDCPA provides in relevant part:

               Unfair practices 15 USC 1692f



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               A debt collector may not use unfair or unconscionable means to collect or
               attempt to collect any debt.
       27.     Radius violated 15 U.S.C. § 1692f of the FDCPA when it contacted Plaintiff

directly in an attempt to collect the alleged debt, even though it knew Plaintiff was represented

by counsel, since this was an unfair and unconscionable means to attempt to collect the debt.

        28.    As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to an

award of actual damages, statutory damages, costs and reasonable attorney fees.

        29.     Defendant’s collection actions and communications are to be interpreted under

the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership, 27

F.3d 1254, 1257 (7th Cir. 1994).

                     COUNT I-FAIR DEBT COLLECTION PRACTICES ACT

       30.     Plaintiff repeats, realleges and incorporates by reference the foregoing paragraphs.

       31.     Radius violated 15 U.S.C. § 1692c(a)(2) of the FDCPA when it communicated

with Plaintiff directly, instead of contacting his attorney, since his attorney had notified Radius

that Plaintiff was represented by counsel with regard to the debt.

       32.     Radius violated 15 U.S.C. § 1692f of the FDCPA when it contacted Plaintiff

directly in an attempt to collect the alleged debt, even though it knew Plaintiff was represented

by counsel, since this was an unfair and unconscionable means to attempt to collect the debt.

       33.     Plaintiff suffered actual damages due to emotional distress caused by Defendant’s

contact with Plaintiff after it had been notified that Plaintiff was represented by counsel.



                                        REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that judgment be entered in his favor and

against Defendant for the counts alleged above for:


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           A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

           B. Statutory damages from each defendant pursuant to 15 U.S.C. § 1692k(a)(2);

           C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)(3); and

           D. Such other or further relief as the Court deems proper.

                                         JURY DEMAND

                                   Plaintiff demands trial by jury.
                                                                                Respectfully submitted,

                                                                      By:     /s/ Bryan Paul Thompson
                                                                            One of Plaintiff’s Attorneys
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                          DOCUMENT PRESERVATION DEMAND

        Plaintiff hereby demands that defendant take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of this claim. If defendant is aware of any third party that has possession,
custody, or control of any such materials, plaintiff demands that defendant request that such third
party also take steps to preserve the materials. This demand shall not narrow the scope of any
independent document preservation duties of the defendant.

                                                                        By: /s/ Bryan Paul Thompson
                                                                         One of Plaintiff’s Attorneys




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